     Case 2:20-cv-02900-JEM Document 20 Filed 11/06/20 Page 1 of 1 Page ID #:838



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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11                                              )
     DAVID RODOLA,                              )    Case No. CV 20-02900-JEM
12                                              )
                                Plaintiff,      )
13                                              )    JUDGMENT
                  v.                            )
14                                              )
     ANDREW M. SAUL,                            )
15   Commissioner of Social Security,           )
                                                )
16                              Defendant.      )
                                                )
17

18         In accordance with the Memorandum Opinion and Order Affirming Decision of the
19   Commissioner of Social Security filed concurrently herewith,
20         IT IS HEREBY ADJUDGED that the decision of the Commissioner of Social Security is
21   AFFIRMED and this action is dismissed with prejudice.
22

23   DATED: November 6, 2020                               /s/ John E. McDermott
                                                          JOHN E. MCDERMOTT
24                                                  UNITED STATES MAGISTRATE JUDGE
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